Case 1:11-cr-00027-IMK-MJA Document 1032 Filed 10/08/15 Page 1 of 6 PageID #: 4630
Case 1:11-cr-00027-IMK-MJA Document 1032 Filed 10/08/15 Page 2 of 6 PageID #: 4631
Case 1:11-cr-00027-IMK-MJA Document 1032 Filed 10/08/15 Page 3 of 6 PageID #: 4632
Case 1:11-cr-00027-IMK-MJA Document 1032 Filed 10/08/15 Page 4 of 6 PageID #: 4633
Case 1:11-cr-00027-IMK-MJA Document 1032 Filed 10/08/15 Page 5 of 6 PageID #: 4634
Case 1:11-cr-00027-IMK-MJA Document 1032 Filed 10/08/15 Page 6 of 6 PageID #: 4635
